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           ORDERED in the Southern District of Florida on February 21, 2013.




                                                             A. Jay Cristol, Judge
                                                             United States Bankruptcy Court
_____________________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov

                                                                  Chapter 11 Cases
          In re:
                                                                  Case No. 10-28831-AJC
          ARROW AIR, INC., and                                    Case No. 10-28834-AJC
          ARROW AIR HOLDINGS CORP.
                                                                  (Jointly Administered under
                Debtors.                                          Case No. 10-28831-AJC)
          ____________________________________/

          BARRY E. MUKAMAL, Liquidating Trustee,                  Adv. No. 12-01613-BKC-AJC-A
          on behalf of Arrow Unsecured Creditor Trust,

                   Plaintiff,

          v.

          MICROSOFT LICENSING, GP,

                Defendant.
          _____________________________________/

               ORDER DISMISSING ADVERSARY CASE WITH PREJUDICE AS SETTLED

                   THIS MATTER came before the Court pursuant to the Plaintiff’s Notice of Settlement

          and Request for Entry of Order Dismissing Adversary Case with Prejudice. The Court having
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reviewed the Notice, having been advised that a Settlement Agreement has been reached (the

“Settlement Agreement”) and being otherwise fully advised in the premises, it is

       ORDERED:

       The Adversary case is dismissed with prejudice. The Court shall retain jurisdiction to

enforce the terms of the Settlement Agreement.

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Submitted by:
Heather Harmon, Esq.                                 Copy to:
Genovese Joblove & Battista, P.A.
                                                     Heather Harmon, Esq.
100 S.E. Second Street, 44th Floor
                                                     [Attorney Harmon is hereby directed to
Miami, Florida 33131
                                                     furnish a conformed copy hereof to all
Tel.: (305) 349-2300
                                                     parties in interest immediately upon receipt]
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